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042184/19344/MHW/REN

                         UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

BOB A. BRINSON,

                      Plaintiff,

v.

WEXFORD HEALTH SOURCES, INC.,                      Case Number 17-cv-1659
JOHN TROST, GHALIAH OBAISI, as
                                                   Hon. John Z. Lee, District Judge
Independent Executor of the Estate of SALEH
OBAISI, RANDY PFISTER, and JEFF
HUTCHINSON,

                      Defendants.

                            NOTICE OF UNOPPOSED MOTION

To:     All Attorneys of Record

       PLEASE TAKE NOTICE that on October 17, 2019, at 9:00 a.m., or as soon thereafter
as counsel may be heard, we shall appear before the Honorable Judge John Z. Lee, Room 2125,
Judge of the U.S. District Court of Illinois, 219 S. Dearborn Street, Chicago, Illinois, and shall
then and there present Defendants’ Unopposed Motion for Extension of Time to File Summary
Judgment Reply Briefs, a copy of which has been served upon you.

                                              Respectfully submitted,

                                              CASSIDAY SCHADE LLP

                                              By: /s/Ronald E. Neroda
                                                 One of the Attorneys for Defendants
                                                 WEXFORD HEALTH SOURCES, INC.,
                                                 GHALIAH OBAISI, as Independent Executor of
                                                 the Estate of SALEH OBAISI, M.D., Deceased,
                                                 and JOHN TROST, M.D.
Matthew H. Weller | 6278685
Ronald E. Neroda | 6297286
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 11, 2019, I electronically filed the foregoing document

with the clerk of the court for the Northern District of Illinois using the electronic case filing

system of the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys

of record in this case.


Dated: October 11, 2019                                                   By: /s/Ronald E. Neroda

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